This action is predicated upon an alleged contract between plaintiff and the defendant corporation for the payment of compensation which the plaintiff asserts is due him for furnishing a device and invention *Page 337 
for keeping the defendant's steel bridge over the Willamette river at Portland open to traffic and navigation while the draw was undergoing repairs.
It appears that, in the year 1922, the machinery by which the drawbridge was operated had become worn, necessitating repairs to the same; and the plaintiff alleges that the defendant thereupon began arrangements for making such repairs, whereby the bridge would be closed to all traffic for a period of four months, the estimated time required for the work, with a resultant loss to the defendant of the sum of $6,500 per month which defendant was receiving as rental from the city of Portland and the street car company for the use of the bridge, and other rentals and income from railroad companies and other persons aggregating $45,500 per month. In addition, the estimated cost of the false work and scaffolding necessary to make the needed repairs in accordance with defendant's plan was approximately $60,000. Plaintiff further alleges that, in the spring of 1922, he offered to furnish to the defendant a plan of his own invention for doing the repair work, which would obviate the necessity of closing the bridge to traffic or navigation at any time, provided the defendant would pay him "the reasonable value of said plan and invention figured on the basis of the money saved and earned by the said corporation by the use of the said plan during the period of four months when the bridge would ordinarily be closed to all use according to the ordinary manner of making the said repairs"; that the defendant accepted his offer, and the work proceeded under his plan and device, the necessary repairs were made and the bridge was kept open for all uses at all times during the progress of the work. *Page 338 
The defendant, by answer, denies the making of the alleged contract, and asserts that, at the time the draw was repaired the plaintiff was, and for many years prior thereto had been, employed by the defendant as a draftsman in the office of its engineering department; that, during all the time occupied in making the repairs he received a salary of $210 per month for his services to the defendant, and that in the performance of his duty he was required to make all plans which might be needed by the engineers in charge of the construction of the draw.
After the joinder of issue, the defendant moved the court for an order directing a reference of the cause for trial, the motion being based upon the pleadings, and upon the affidavit of Roy F. Shields in which affiant stated, in part, that a determination of the question would require an examination and analysis of long and complicated accounts for the following reasons: That the bridge in question was owned by the defendant and the Southern Pacific Company jointly; that, in accordance with a contract bearing date June 15, 1920, the upper deck of the bridge was leased to Multnomah county at an annual rental, and, by a supplemental contract of date December 19, 1923, further areas were likewise leased by the owners to Multnomah county as approaches to the bridge at a fixed annual rental; that the lower deck of the bridge was used jointly by the owning companies and Spokane, Portland  Seattle Railway Company as lessee; that, "as between the owning companies, the expenses of additions and betterments to said bridge are borne jointly by the defendant and Southern Pacific Company, while the cost of operation and maintenance of said bridge (including all expenses for preserving the integrity of the structure) is divided between defendant and Southern *Page 339 
Pacific Company in the proportion which the number of cars which each of said companies runs across the bridge bears to the whole number of cars run across the bridge by both parties." Then follows a statement of the annual rentals due from the Spokane, Portland  Seattle Railway Company to the owning companies. Affiant further said:
"To determine what, if any, sum the defendant earned or saved by keeping said bridge open to traffic during that particular period requires the determination, first, of the amount of gross revenue it received during said period, and, second, the amount of expense in maintenance and operation which the defendant would have saved had said bridge not been operated during said period.
                                *      *      *      *      *
"To sustain their representative contentions, each side will offer in evidence numerous sets of drawings, plans and work sheets, with figures and computations thereon, all of which must be examined, compared and understood by the triers of the facts in order to determine this phase of the issues between the parties, and this cannot be done intelligently by a jury."
Over plaintiff's objection a referee was appointed, who took the testimony, determined the facts, and filed his report in which he found for the defendant. This report was adopted by the court, and it was ordered that plaintiff take nothing by the action, and that the defendant recover its costs and disbursements. From the judgment entered thereon, the plaintiff appeals.
The single question presented for determination in this cause arises out of the plaintiff's objection to the order of the court directing a reference of the case for trial, which he asserts has resulted in the denial to him of "both the constitutional and common-law right to a jury trial." *Page 340 
Oregon Code 1930, § 2-602, provides:
"When the parties do not consent, the court may, upon the application of either, or of its own motion, direct a reference in the following cases:
"(1) When the trial of an issue of fact shall require the examination of a long account on either side, in which case the referees may be directed to hear and decide the whole issue, or to report upon any specific question of fact involved therein. * * *"
For a full discussion of this question by our court, see the early case of Tribou v. Strowbridge, 7 Or. 156. The opinion in that case was written by Mr. Justice BOISE and concurred in by KELLY, C.J., and PRIM, J., all being members of the Constitutional Convention. In that case it was insisted by the appellants that the trial court had no authority to refer the case to a referee, for the reason that it was an action at law. In determining the case the court, basing its ruling upon a statute identical in its provisions to the section of our code above set out, held that, when necessary to determine material issues of a cause involving the examination of accounts of either party, it was proper to appoint a referee whether the parties had consented or not. But the appellants asserted that the statute under which the referee was appointed was void, in that it was in conflict with section 17, article 1 of the Oregon Constitution providing that "in civil cases the right of trial by jury shall remain inviolate." Answering that contention, the court said:
"This language of the Constitution indicates that the right of trial by jury shall continue to all suitors in courts in all cases in which it was secured to them by the laws and practice of the courts at the time of the adoption of the Constitution. * * * (Citations).
"The statute in question was passed by the legislature of the late Territory of Oregon in 1854, and has *Page 341 
been copied into the present code; so that this statute has been in force since that time, and was the law of the territory at the time the Constitution was adopted, and, therefore, does not abridge the right of trial by jury as it existed when we became a state. Under this statute, cases like this have been referred and tried by a referee, without question as to the authority of the court to order the reference, for a quarter of a century; and was there doubt as to the constitutionality of this statute, it would, under the circumstances and the sanction of long usage, have to be solved in favor of the statute. Cooley's Constitutional Limitations, 74; 6 Cranch, 128; 10 Wharton, 53; 3 Peters, 433."
To similar effect, see McDonald v. American Mtge. Co., 17 Or. 626
(21 P. 883); Trummer v. Konrad, 32 Or. 54 (51 P. 447);Mitchell v. Oregon Women's Flax-Fiber Ass'n, 38 Or. 503
(63 P. 881); Salem Traction Co. v. Anson, 41 Or. 562 (67 P. 1015, 69 P. 675); Kaston v. Paxton, 46 Or. 308 (80 P. 209, 114 Am. St. Rep. 871).
It is unnecessary to go abroad to find authority for the action of the circuit court in making the reference in the case at bar. The order appointing the referee is based wholly upon statutory authority. Moreover, the opinion rendered in the Tribou case hereinbefore discussed is plain and understandable, and has never been overturned. The plaintiff's complaint discloses that, to determine the amount he should receive in accordance with his own averments, would require extensive examination and analysis of long and complicated accounts. It is difficult to understand how the sum of money saved to the defendant by adopting the plaintiff's invention could be determined without a comparison of the cost of repairing the bridge under the ordinary method as represented by plaintiff with the cost under the method employed. And, to make this finding, it would be necessary to *Page 342 
analyze all items required by each plan. We are satisfied that the procedure of the court in appointing a referee to determine the accuracy of the accounts involved herein was proper, and was not an abuse of discretion.
This case should be affirmed. It is so ordered.
BEAN, C.J., and KELLY and CAMPBELL, JJ., concur.